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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION

STEPHANIE C. SMITH,

      Plaintiff,

v.                                                 Case No.: 5:23-cv-174-MW/MJF

OUTLAW RENTALS, INC.; CLASSY
CYCLES, INC.; and COLLEEN SWAB,

     Defendants.
___________________________/

     SECOND JOINT STATUS REPORT REGARDING DISCOVERY

      In accordance with paragraph 1(b) of the Initial Scheduling Order entered in

this cause (Doc. 6), the parties provide the following information:


      1.       Since the filing of the last Joint Status Report, defendants have

           separately responded to the requests for production of documents and

           interrogatories served upon them.

      2.      Additionally, defendants have propounded interrogatories and a

           request for production of documents upon plaintiff, the responses to

           which are not yet due.




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DATED this 24th day of October, 2023.



Respectfully submitted,


s/Bradley S. Odom                           s/Jesse I. Unruh
Bradley S. Odom, Esq.                       Jesse I. Unruh, Esq.
Florida Bar Number: 932868                  Florida Bar Number: 93121
ODOM LAW GROUP, P.A.                        SPIRE LAW, PLLC
1800 North "E" Street                       2572 W. State Road 426, Suite 2088
Pensacola, Florida 32501                    Oviedo, Florida 32765
(850) 434-3527                              (407) 494-0135
email@odomlawgroup.net                      jesse@spirelawfirm.com
Attorney for Plaintiff                      Attorney for Defendants




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